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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JENNIFER MCCAMBRIDGE AND                                 CASE NO.: 8:16-cv-03265-VMC-JSS
JASON MCCAMBRIDGE

         Plaintiff,

vs.

PAYPAL, INC.,                                            DEMAND FOR JURY TRIAL

       Defendant,
__________________________________/

                              VERIFIED AMENDED COMPLAINT

        COME NOW, Plaintiffs, JENNIFER MCCAMBRIDGE and JASON MCCAMBRIDGE

(hereafter “Plaintiff”), by and through undersigned counsel, and hereby sue Defendant, PAYPAL,

INC., (hereafter “Defendant”), and state as follows:

                                  PRELIMINARY STATEMENT

        This action arises out of Defendant’s violations of the Florida Consumer Collection

Practices Act, Florida Statute §§ 559.55 et seq. (hereafter the “FCCPA”) and the Telephone

Consumer Protection Act, 47 U.S.C. §§ 227 et seq. (hereafter the “TCPA”).

                                  JURISDICTION AND VENUE

        1.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA

and/or by F.S. § 47.011 and/or by 28 U.S.C § 1332, diversity jurisdiction.

        2.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this action,

is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have

original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

States; this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii).
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        3.      Pursuant to 28 U.S.C. § 1391(b), venue is proper in this District because the

Plaintiff resides in this District, the phone calls were received in this District, and Defendant

transacts business in this District.

                                   FACTUAL ALLEGATIONS

        4.      Plaintiffs are individuals residing in Hillsborough County, Florida.

        5.      Plaintiffs are consumers as defined by the FCCPA, Fla. Stat. § 559.55(2).

        6.      Defendant is a foreign profit corporation as registered with the Florida Department

of State, Division of Corporations.

        7.      Defendant is a “Creditor,” as defined by the FCCPA, Fla. Stat. § 559.55(5) and

does business throughout the state of Florida, including Hillsborough County, Florida.

        8.      Defendant is a “person” subject to regulations under Fla. Stat. § 559.72 and 47

U.S.C. § 227(b)(1).

        9.      The conduct of Defendant, which gives rise to the cause of action herein alleged,

occurred in this District, Hillsborough County, Florida, by the Defendant’s placing of telephone

calls to Plaintiffs’ cellular telephones in an attempt to collect a debt.

        10.     Defendant, at all material times, was attempting to collect a debt relating to a PayPal

credit card, Account No. ending in –7249, in the name of Plaintiff, Jennifer McCambridge.

        11.     The alleged debt that is the subject matter of this complaint is a “consumer debt”

as defined by the FCCPA, Fla. Stat. §559.55(6).

        12.     Plaintiff, Jennifer McCambridge, revoked any prior express consent for Defendant

to contact Plaintiff, Jennifer McCambridge, via cell phone or any other form of communication on

January 14, 2016 at 5:51 p.m., through a facsimile transmission to Defendant. See facsimile

confirmation attached as Exhibit “A.”
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       13.     In addition to the request not to be contacted by Defendant, Plaintiff, Jennifer

McCambridge’s, facsimile transmission directed Defendant to contact Plaintiff’s attorney and

included the contact information for the law firm.

       14.     On or about March 29, 2016, Defendant sent correspondence to Plaintiff, Jennifer

McCambridge, advising that it had made several attempts to contact Plaintiff, Jennifer

McCambridge, to discuss her bill.        A similar letter was also sent to Plaintiff, Jennifer

McCambridge, on or about April 28, 2016 and May 30, 2016. See Exhibit “B.”

       15.     Defendant did not contact Plaintiff, Jennifer McCambridge’s, attorney as directed

in her letter dated January 14, 2016.

       16.     Plaintiff, Jennifer McCambridge, is the regular user and carrier of the cellular

telephone number ending in -7510 and was the called party and recipient of Defendant’s automatic

telephone dialing system and/or artificial or prerecorded voice.

       17.     Defendant knowingly and/or willfully called Plaintiff, Jennifer McCambridge’s,

cellular telephone after Defendant had unequivocal notice from Plaintiff, Jennifer McCambridge,

to cease any and all calls and after Plaintiff, Jennifer McCambridge, withdrew any prior consent

or permission to be contacted on January 14, 2016.

       18.     Defendant knowingly and/or willfully called Plaintiff, Jennifer McCambridge’s,

cellular telephone after Defendant had unequivocal notice that Plaintiff, Jennifer McCambridge,

was represented by an attorney and could readily ascertain the Firm’s contact information.

       19.     Defendant knowingly and/or willfully harassed and abused Plaintiff, Jennifer

McCambridge, by calling Plaintiff, Jennifer McCambridge’s cellular telephone after Defendant

had unequivocal notice from Plaintiff, Jennifer McCambridge, to cease any and all calls.
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       20.     Defendant used an automatic telephone dialing system or an artificial or pre-

recorded voice to place telephone calls to Plaintiff, Jennifer McCambridge’s, cellular telephone on

the following dates and times listed on the call logs of Plaintiff, Jennifer McCambridge, attached

as Exhibit “C.”

       21.     Additionally, Defendant did not have prior express consent to contact Plaintiff,

Jason McCambridge, who was not a party to the subject account and did not owe the alleged debt.

       22.     Plaintiff, Jason McCambridge, is the regular user and carrier of the cellular

telephone number ending in -0876 and was the called party and recipient of Defendant’s automatic

telephone dialing system and/or artificial or prerecorded voice.

       23.     Defendant knowingly and/or willfully called Plaintiff, Jason McCambridge’s,

cellular telephone even though Defendant knew that it did not have prior express consent to call

Plaintiff, Jason McCambridge’s cellular telephone, and that Plaintiff, Jason McCambridge, was

not a party to the subject account and did not owe the alleged debt.

       24.     Defendant used an automatic telephone dialing system or an artificial or pre-

recorded voice to place telephone calls to Plaintiff, Jason McCambridge’s, cellular telephone on

the following dates and times listed on the call logs of Plaintiff, Jason McCambridge, attached as

Exhibit “D.”

       25.     Defendant placed calls to Plaintiffs’ cellular telephones that included delays in time

before the telephone call was transferred to a representative to speak.

       26.     Plaintiffs did not speak with a representative during some of the phone calls placed

by Defendant because there was no representative on the telephone call that spoke or attempted to

communicate with Plaintiffs after Plaintiffs answered the telephone call.
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        27.    Defendant left messages on Plaintiffs’ cellular telephones that started with a delay

in time before the representative joined the line to leave a message.

        28.    Some of the voicemail messages received by Plaintiffs on their cellular telephones

from Defendant sounded like an artificial or pre-recorded voice requesting a return call from

Plaintiffs.

        29.    Furthermore, Defendant called Plaintiff, Jennifer McCambridge’s, employer in an

attempt to collect the alleged debt.

        30.    Plaintiff, Jennifer McCambridge’s, attorney did not fail to respond within a

reasonable period of time to any communication from Defendant, did not consent to Defendant’s

direct communication with Plaintiff, Jennifer McCambridge, and Plaintiffs did not initiate any

communications.

        31.    The calls from Defendant to Plaintiff, Jennifer McCambridge’s, cellular telephone

continued despite Plaintiff, Jennifer McCambridge, expressly revoking her consent.

        32.    The calls from Defendant to Plaintiff, Jason McCambridge’s, cellular telephone

continued despite Defendant having no prior express consent to contact Plaintiff, Jason

McCambridge.

        33.    None of Defendant’s telephone calls placed to Plaintiffs were for “emergency

purposes” as specified in 47 U.S.C. § 227 (b)(1)(A).

        34.    None of Defendant’s telephone calls placed to Plaintiffs were made with Plaintiffs’

“prior express consent” as specified in 47 U.S.C. § 227 (b)(1)(A).

        35.    All conditions precedent to the filing of this lawsuit have been performed or have

occurred.
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                                      COUNT I
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(7)

        36.     Plaintiff, Jennifer McCambridge, incorporates all allegations in paragraphs 1-35 as

if stated fully herein.

        37.     Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

        38.     Defendant violated Florida Statute § 559.72(7) when it willfully communicated

with Plaintiff, Jennifer McCambridge with such frequency as can reasonably be expected to abuse

or harass Plaintiff, Jennifer McCambridge.

        39.     Specifically, Defendant continued to make numerous telephone calls to Plaintiff,

Jennifer McCambridge’s, cellular telephone after being notified to no longer call Plaintiff, Jennifer

McCambridge, through any means.

        40.     Additionally, Defendant continued to make telephone calls to Plaintiff, Jennifer

McCambridge’s, cellular telephone after being notified in writing not to contact Plaintiff, Jennifer

McCambridge, and to direct any and all future contact to Plaintiff, Jennifer McCambridge’s,

attorney.

        WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment against

Defendant, PAYPAL, INC., for the following relief:

                a.        any actual damages sustained by Plaintiff, Jennifer McCambridge, as a

result of the above allegations;

                b.        statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

                c.        pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff, Jennifer McCambridge, whole;
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                d.      in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff, Jennifer McCambridge; and

                e.      any other relief the Court deems just and proper.

                                     COUNT II
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(7)

        41.     Plaintiff, Jason McCambridge, incorporates all allegations in paragraphs 1-35 as if

stated fully herein.

        42.     Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

        43.     Defendant violated Florida Statute § 559.72(7) when it willfully communicated

with Plaintiff, Jason McCambridge with such frequency as can reasonably be expected to abuse or

harass Plaintiff, Jason McCambridge.

        44.     Specifically, Defendant continued to make numerous telephone calls to Plaintiff,

Jason McCambridge’s, cellular telephone when it knew that it did not have prior express consent

to call Plaintiff, Jason McCambridge, through any means.

        WHEREFORE, Plaintiff, JASON MCCAMBRIDGE, demands judgment against

Defendant, PAYPAL, INC., for the following relief:

                f.      any actual damages sustained by Plaintiff, Jason McCambridge, as a result

of the above allegations;

                g.      statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

                h.      pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff, Jason McCambridge, whole;
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                i.        in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff, Jason McCambridge; and

                j.        any other relief the Court deems just and proper.

                                     COUNT III
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(17)

        45.     Plaintiff, Jennifer McCambridge incorporates all allegations in paragraphs 1-35 as

if stated fully herein.

        46.     Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

        47.     Defendant violated the FCCPA, Fla. Stat. § 559.72(17), when it knowingly

communicated with Plaintiff, Jennifer McCambridge between the hours of 9 p.m. and 8 a.m. in the

Plaintiff, Jennifer McCambridge’s, time zone without the prior consent of the Plaintiff, Jennifer

McCambridge.

        48.     Specifically, Defendant placed phone calls to Plaintiff, Jennifer McCambridge’s

cellular telephone on April 2, 2016 between the hours of 9:00 p.m. and 8:00 a.m. E.S.T. without

the prior consent of Plaintiff, Jennifer McCambridge.

        WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment against

Defendant, PAYPAL, INC., for the following relief:

                a.        any actual damages sustained by Plaintiff, Jennifer McCambridge, as a

result of the above allegations;

                b.        statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

                c.        pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff, Jennifer McCambridge, whole;
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                d.        in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff, Jennifer McCambridge; and

                e.        any other relief the Court deems just and proper.

                                     COUNT IV
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(18)

        49.     Plaintiff, Jennifer McCambridge, incorporates all allegations in paragraphs 1-35 as

if stated fully herein.

        50.     Jurisdiction is proper, pursuant to Florida Statute § 559.77(1).

        51.     Defendant violated the FCCPA, Fla. Stat. § 559.72(18), when it knowingly

communicated with Plaintiff, Jennifer McCambridge, after it knew Plaintiff, Jennifer

McCambridge, was represented by counsel and could reasonably ascertain the name and address

of counsel.

        52.     Specifically, Defendant continued to place phone calls to Plaintiff, Jennifer

McCambridge’s, cellular telephone despite having actual knowledge that Plaintiff, Jennifer

McCambridge, was represented by an attorney.

        WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment against

Defendant, PAYPAL, INC., for the following relief:

                a.        any actual damages sustained by Plaintiff, Jennifer McCambridge, as a

result of the above allegations;

                b.        statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

                c.        pursuant to §559.77(2), any specific or injunctive relief necessary to

make Plaintiff, Jennifer McCambridge, whole;
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                d.        in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff, Jennifer McCambridge; and

                e.        any other relief the Court deems just and proper.

                                     COUNT V
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(4)

        53.     Plaintiff, Jennifer McCambridge, incorporates all allegations in paragraphs 1-35 as

if stated fully herein.

        54.     Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

        55.     Defendant violated Florida Statute § 559.72(4) when it willfully communicated

with Plaintiff, Jennifer McCambridge’s, employer before obtaining final judgment against

Plaintiff, Jennifer McCambridge, and without permission from Plaintiff, Jennifer McCambridge,

to contact her employer.

        56.     Specifically, Defendant continued to make numerous telephone calls to Plaintiff,

Jennifer McCambridge’s, employer without ever having received permission from Plaintiff,

Jennifer McCambridge, to contact her employer.

        57.     To date, Defendant has not obtained final judgment against Plaintiff, Jennifer

McCambridge.

                WHEREFORE, Plaintiff, JENNIFER MCCAMBRIDGE, demands judgment

against Defendant, PAYPAL, INC., for the following relief:

                a.        any actual damages sustained by Plaintiff, Jennifer McCambridge, as a

result of the above allegations;

                b.        statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;
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               c.       pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff, Jennifer McCambridge, whole;

               d.       in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff, Jennifer McCambridge; and

              e.        any other relief the Court deems just and proper.

                                     COUNT VI
                    VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

       58.     Plaintiffs incorporate all allegations in paragraphs 1-35 as if stated fully herein.

       59.     Jurisdiction is proper pursuant to 47 U.S.C. § 227(b)(3).

       60.     Defendant used an automatic telephone dialing system or an artificial or

prerecorded voice as defined by 47 U.S.C. § 227(a)(1)(A)(iii) to make telephone calls to Plaintiffs’

cellular telephones.

       61.     Defendant independently violated 47 U.S.C. § 227(b)(1)(A)(iii) for each call that

Defendant placed to Plaintiffs’ cellular telephone using an automatic telephone dialing system or

an artificial or prerecorded voice.

       62.     The phone calls made by Defendant are considered willing and knowing violations

of the TCPA, as Defendant is well aware of the TCPA and its prohibitions.

       WHEREFORE,             Plaintiffs,   JENNIFER         MCCAMBRIDGE             and      JASON

MCCAMBRIDGE, demand judgment against Defendant, PAYPAL, INC., for the following relief:

               a.       statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) in the amount of

$500.00 for each of the independent violations occurring after January 14, 2016;
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   December 13, 2016
